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A 0 245B (Rev 12/03) Sheet 1 - Judgment in a Criminal Case


                               UNITED STA TES DISTRICT COURT
                                                      MIDDLE DISTRICT OF FLORIDA
                                                           TAMPA DIVISION



UNITED STATES OF AhiERICA                                            JUDGRIENT IN A CRIMINAL CASE

                                                                     CASE NUhlBER:          8:04-cr-521 -T-23MAP
                                                                     USM NUMBER:            42372-018
VS.


h,lETODIO VILLEGAS AGUIRRE
                                                                     Defendant's Attorney: Daniel L. Castillo, CJA

THE DEFENDANT:

-
X pleaded guilty to counts one and two of the indictment.


TITLE & SECTION                                  NATURE O F OFFEKSE                                OFFENSE ENDED                   COUNT

Title 46.4ppendix, U.S.C. $5 1903(a)             Possession with intent to distribute              October 21, 2001                One
and 1903(g); Title 18, U.S.C. 8 2; and           fivc kilogsams or more of cocaine
Title 21 U.S.C. 8 960(b)(l)(B)(ii)               while on board a vessel subject to
                                                 Unircd States jurisdiction

Title 46 Appendix, U.S.C. $8 1903(a),            Conspiracy to possess with the intent             October 21, 2001                Two
1903(g), and 1903Cj); and Title 21 U.S.C.        to distribute five kilograms or more of
0 960(b)(l)(B)(ii)                               cocaine while aboard a vzssel subject to
                                                 United S r w s jurisdiction


The defendant is sentenced as provided in pages 2 through 6 of this judgrnenr. The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant shall notify the court and Uni~edStates Attorney of any material change in economic
circumstances.


                                                                                         Date of Iniposition of Sentence: April 20, 2005




                                                                                                                               I         I
                                                                                             STEVEN D. MERRYDAY
                                                                                         UNITED STATES DISTRICT JUDGE

                                                                                         DATE: April                  , 20.5
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A 0 245B (Rev 12/03) Sheet 2 - Imprisonment
Defendant:         METODIO VILLEGAS AGUIRRE                                                                             Judgment - Page 2 of 6
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The defendant is hereby committed ro the cus~odyof the United States Bureau of Prisons to be inlprisoned for a total term of
SEVENTY-EIGIIT (78) hIONTIIS as to each of counts one and two of the indictn~cnt,both ter111sto run concurrently.




-
X        The court makes the following recommendations to the Bureau of Prisons: that the BOP designate a facility in
         southern California as the place of continen~entand that the BOP allow the defendant to participate in the
         500-Hour Coniprehensiw Drug Treatment Program while incarcerated.


-
X        The defendant is renianded to the custody of the United States hlarshal.
-        The defendant shall surrender to the United States Marshal for this district.

         - at - a.m.1p.m. on -.
         - as notified by the United States hlarsh;~l.

-        The defendant shall surrender for service of sentence at the inaituiion designated by the Bureau of Prisons.

         - bcforc 2 p.m. on -.
         - as notified by the United States h4arslial.
         - as notified by the Prohation or Pretrial Services Office.



                                                                    RETURN

         I have executed this judgment as follows:




         Defendant delivered on                                                  to

at                                                                       . with a certified copy of this judgment.

                                                                                         United States Marshal



                                                                     Deputy Marshal
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A 0 245B (Rev. 12/03) Sheet 3 - Supervised Release
Defendant:         METODIO VILLEGAS AGUlRRE                                                                Judgmmt - Page 3of 6
Case No.:          8:04-cr-521-T-23bl A P

                                                       SUPERVISED RELEASE

Upon release from imprisonment, the dekndanl shall be on supervised release for a term of SIXTY (60) RIONTIIS a s to each
of counts one and two of the inclictmcnt, bot11 terms to run concurrently.

The defendant shall report to thc probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state, or local crime, and shall not possess a firearm,
ammunition, or destructive device as defined in 18 U.S.C. 5 921.

X        The defendant shall not illegally posscss a controlled substance. The defendant shall refrain from 'my unlawful use of a
         controlled substance. The mandatory drug testing provisions of the Violent Crime Control Act are imposed. The Court
         authorizes random drug testing not to exceed 103 tests per year.

X
-        The defendant shall cooperate in the collection of DNA as directed by the probation officer.

If this judgment imposes a fine or a restitution it is a condition of supervised release that the dcfendant pay in accordance with the
Schedule of Payments sheet of this judgment.

The defendant shall conlply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

                                         STANDARD CONDITIOXS OF SUPERVISION
         the defcndant shall not leave the judicial district without the permission of the court or probation officer:

         thc defendant shall rcport to thc probation officer and shall submit a truthful and complete wittcn rcport within the first five days
         of each month:

         the defendant shall answcr truthfully all inquirics by the probation officcr and fbllow thc instructions of the probation officcr;
         thc dcfendant shall support his or her dependents and mcct other family responsibilitics:
         the defcndant shall work regularly at a lawful occupation, unless excused by the probation officcr for schooling, training. or other
         acceptable rcasons;
         thc dcfendant shall notify thc probation officer at least ten days prior to any change in rcsidcncc or employment;
         the dcfcndant shall refrain From excessive use of alcohol and shall not purchase, posscss. usc, distribute, or administcr any
         controlled substance or any paraphernalia related to any controlled substances. except as prcscribcd by a physician;

         the defendant shall not ficqucnt places wherc controlled substances are illegally sold. used, distributed, or administered;
         the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;
         the dcfcndant shall permit a probation officcr to visit him or her at any time at home or elscwhcrc and shall permit confiscation of
         any contraband obscnvd in plain view of the probation officer;
         the dcfcndant shall notify the probation officer within scvcnty-two hours of being arrcstcd or qucstioncd by a law enforcement
         officer:
         the dcfcndant shall not cntcr into any agrccmcnt to act as an informer or a special agent of a la\\, cnforccmcnt agency without the
         permission of the court:
         as directed by thc probation officcr. thc dcfcndanr shall notify third parties of risks that may bc occirsioncd by thc dcfcndant's
         criminal record or pcrsonal history or cliaractcristics and shall permit thc probation officcr to make such notifications and to
         confirm the defendant's compliance with such notification requirement.
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A 0 245B (Rev. 12/03) Sheet 3C - Supervised Release

Defendant:        METODIO VILLEGAS AGUIRRE                                                        Judgment - Page 4 of 6
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                                        SPECIAL CONDITIONS OF SUPERVISION

The defendant shall also comply wirh the followir~gadditional condiuons of supervised release:


X
-        If the defendant is deported, he shall not re-enter the United States without the express pern~issionof the United States
         Depamnent of Homeland Security or its statutory successor.
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A 0 245B (Rev 12/03) Shret 5   - Criminal Monetary Penalties
Defendant:         METODIO VILLEGAS AGUIRRE                                                        Judgment - Page 5--   of 6
Case No.:          8:04-cr-521-T-23hIAP
                                            CRIMINAL RIONETARY PENALTIES

         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                           Assessnicnl                          -
                                                                Fine                      Total Restitution

         Totals:           $200.00                              $ Waived                  $ NIA


-        The determination of restitution is dcfcrred until -. An Amerzdetl Judgment in n Critninnl Case ( A 0 315C) will
         be entered after such determination.
-        The defendant must make restitution (including community restitution) to the following payees in the amount listed
         below.
         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
         specified otherwise In the priority order or percentage pa ment colunln below. However, pursuant to 18 U.S.C. 5
         3664(i). all non-federal victims must be paid before the dnited States.
                                                                                                            Priority Order o r
                                                 *Tot a1                   Amount of                        I'ercentage of
Name of Pavee                                  Amount of Loss           Restitution Ordered                 I'avmcnt




                           Totals:             $                        $


-        Restitution amount ordcred pursuant to plea agreement S
-        The defendant shall ay interest on any fine or restitution of more than $2.500, unless the restitution or fine is paid in full
         before the fifteenth gay after the date of the judgment. pursuant to 18 U.S.C. fi 3612(f). All of the payment options on
         Sheet 6 may be subject to penalties I'or delinquency and default, pursuant to 18 U.S.C. fi 3612(g).
-        The court determined that the defendant does not have the ability to pay interest and it is ordered that:
         -         the interest requirement is waived for the - fine        - restitution.

         -         the interest requirement for the - fine - restitution is modified as follows:


* Findings for the total amount of losses are required under Chaptcrs 109A, 110, 1IOA, and 113A of Title 18 for the offenses
committed on or after September 13, 1994, but before April 23. 1996.
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A 0 245B (Rev 12/03) Sheer 6 - Schedule of P a y ~ n e r ~ ~ s                 !




Defendant:        METODIO VILLEGAS AGUIRRE                                                          Judgment - Page 6of 6
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                                                 SCHEDULE OF PAYhlENTS



Having assessed the defendant's ability to pay. payment of the total criminal monetary penalties are due as
follows:

A.       -
         X Lump sum payment of $ 200.00 due immediately.
                            -not later than                   , Or

                            -in accordance - C , - D, - E or - F below: or
B.       -        Payment to begin immediately (may be combined with -C, - D. or                           F below): or
C.       -        Payment in equal                   (e.g., weekly, monthly, quarterly) installments of $            over a
                  period of            (e.g., months or years), to commence              days (e.g.. 30 or 60 days) after
                  the date of this judgment; or
D.       -        Payment in equal                 (e.g., weekly. monthly, quarterly) i~lstallmentsof S             over a
                  period of               , (e.g.. months or years) to conmence                     (e.g. 30 or 60 days)
                  after release from imprisonment to a term of supervision: or
E.       -        Payment during the term of supervised release will commence within                        (e.g., 30 or
                  60 days) after release from imprisonment. The court will set the payment plan based on an assessment
                  of the defendant's ability to pay at that time, or
F.       -        Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this jud ment im oses a period of imprisonment, payment of
                     P                                               B         P
criminal monetary enalties is due during imprisonment. A I crimina monetary penalties, exce t those payments made
                                                                                                            R
through the Federa Bureau of Prisons' Inmate Financial Responsibility Program. are made to t e clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-        Joint and Several
Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
Several Amount, and corresponding payee. if appropriate:


-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost(s):
-        The defendant shall forfeit the defendant's interest in the following property to the United Stares:


Payments shall be applied in h e following ordcr: (1) assessment, (2) restitution principal, (3) restitution interest. (4) fine principal,
(5) community restitution, (6) fine interest (7) penalties, and (8) costs, including cost of prosecution and court costs.
